      Case:24-10075-SDB Doc#:536 Filed:10/18/24 Entered:10/18/24 15:31:08                                          Page:1 of 1




                               UNITED STATES BANKRUPTCY COURT
                                                Southern District of Georgia

 In re:                                                                                  Case No.: 24-10075-SDB
 RRG,Inc.,
    Debtor                                                                               Judge: Susan D. Barrett
                                                                                         Chapter: 11



                             ORDER AND NOTICE OF DEADLINE FOR OBJECTIONS
Application for Allowance of Administrative Expense Claim (Docket Number 502) has been filed by Carolina-Georgia Sound, Inc.
("Movant") on September 19, 2024. Movant requests allowance and payment of administrative expense claim in the amount of $17,850.54
for reimbursement of DGPLQLVWUDWLYH H[SHQVHV and costs, pursuant to 11 U.S.C §503(b)(1). Movant requests that the administrative
expense be afforded priority treatment set forth in section 503(b)(1) and Debtor be authorized to make prompt payment.



IT IS HEREBY ORDERED that Objections to the Application shall be filed with the Court on or before 1RYHPEHU 3, 2024,
with a copy to Movant's attorney: Nathan E. Huff, 1223 George C. Wilson Drive, Augusta, GA 30909, and a copy to
Debtor's attorney: Bowen Klosinski, Klosinski Overstreet, LLP, 1229 Augusta West Parkway, Augusta, GA 30909.

Failure to file a written objection on or before the deadline indicated above may result in the entry of an order approving the Motion
as filed. Any such objections must be stated with specificity.




                                                                                               Susan D. Barrett
                                                                                               United States Bankruptcy Judge
                                                                                               Federal Justice Center
          Dated: October 1, 2024                                                              600 James Brown Blvd
                                                                                               P.O. Box 1487
                                                                                               Augusta, GA 30903
